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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


MICHAEL MCLELAND, Individually and for                   ]        CASE NO. 5:14-cv-1117
Others Similarly Situated,                               ]
                                                         ]
                        Plaintiff,                       ]        JURY TRIAL DEMANDED
                                                         ]
v.                                                       ]
                                                         ]
1845 OIL FIELD SERVICES,                                 ]        COLLECTIVE ACTION
                                                         ]
                        Defendant.                       ]
                                                         ]


        MCLELAND’S OPPOSITION TO 1845 OIL FIELD’S MOTIONS TO DISMISS


1.    Summary.

      It would seem clear that McLeland’s FLSA claim gives this Court subject matter jurisdiction. Breuer

v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691, 694 (2003) (citing 29 U.S.C. § 216(b) and 28 U.S.C. § 1331).

But 1845 Oil thinks because it says McLeland (and the other sand coordinators) come within the FLSA’s

Motor Carrier Act exemption, 29 U.S.C. § 213(b)(1), this Court lacks subject matter jurisdiction over

McLeland’s claim. That’s wrong. 1845 Oil’s Motor Carrier Act exemption defense to McLeland’s FLSA

claim merely presents a question on the merits, not jurisdiction.

      This Court also has supplemental jurisdiction over McLeland’s state law claims. Like his FLSA

claims, McLeland’s New Mexico Minimum Wage Act (NMMWA) claims require him to show he

worked more than 40 hours in a workweek for 1845 Oil but did not receive overtime pay. Compare 29

U.S.C. § 207(a); N.M. Stat. Ann. § 50-4-22(D). As such, the claims arise “from a common nucleus of

operative fact.” See United Mine Works of Am. v. Gibbs, 383 U.S. 715, 625 (1966). The exercise of

supplemental jurisdiction is therefore appropriate. 28 U.S.C. § 1367(a); Jacob v. Duane Reade, Inc., No. 13-

3873-CV, 2015 WL 525697, at *1 (2d Cir. Feb. 10, 2015) (because plaintiffs’ FLSA claims conferred
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federal-question jurisdiction, the district court had supplemental jurisdiction over the plaintiffs’ state law

claims). In sum, McLeland’s FLSA claim is expressly authorized by a federal statute, this Court has

subject matter jurisdiction over all his claims, and 1845 Oil’s motions to dismiss fail.

2.    1845 Oils Affirmative Defense is a Question of Merits, Not Jurisdiction.

     A. The FLSA’s Requirements and Exemptions Thereto.

      The FLSA was designed to ensure “‘all our able-bodied working men and women a fair day’s pay

for a fair day’s work.’” A.H. Phillips v. Walling, 324 U.S. 490, 493 (1945) (quoting Message of President

Franklin D. Roosevelt to Congress, May 24, 1934); see also Barrentine v. Arkansas-Best Freight Sys., Inc., 450

U.S. 728, 739 (1981) (“The principal congressional purpose in enacting the . . . [FLSA] was to protect all

covered workers from substandard wages and oppressive working hours.”). The Supreme Court has

held that this “broad remedial goal of the statute should be enforced to the full extent of its terms.”

Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 173 (1989).

      To that end, the FLSA authorizes a private right of action against employers who fail to pay

according to its terms. 29 U.S.C. § 216(b). While there are certain exemptions from the FLSA’s overtime

requirements, these exemptions are affirmative defenses on which 1845 Oil would bear the burden of

proof. Vanzzini v. Action Meat Distributors, Inc., 995 F. Supp. 2d 703, 711 (S.D. Tex. 2014) (Motor Carrier

Act exemption is an affirmative defense). And exemptions to FLSA coverage “must . . . be narrowly

construed, giving due regard to the plain meaning of statutory language and the intent of Congress.”

A.H. Phillips, 324 U.S. at 493. In other words, FLSA rights extend to all workers employed except those

who “plainly and unmistakably” fall outside of its ambit. See Citicorp Indus. Credit Corp. v. Brock, 483 U.S.

27, 36 (1987); Arnold v. Ben Kanowsky, Inc., 361 U.S. 388, 392 (1960); A.H. Phillips, 324 U.S. at 493; Meza



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v. Intelligent Mexican Mktg., Inc., 720 F.3d 577, 581 (5th Cir. 2013) (“The employer must prove facts by a

preponderance of the evidence that show the exemption is ‘plainly and unmistakably’ applicable.”).

    B. The Motor Carrier Act Exemption is Not “Jurisdictional.”

      The Supreme Court applies a “readily administrable bright line” standard for determining whether

a statute’s provision is a jurisdictional requirement. Smith v. Reg’l Transit Auth., 756 F.3d 340, 344 (5th

Cir. 2014). Unless Congress “specifically designated” a statutory limitation on coverage as jurisdictional,

courts should treat it as “nonjurisdictional in character.” Id. (quoting Arbaugh v. Y & H Corp., 546 U.S.

500, 516 (2006). The FLSA does not specifically — or even generally — designate the Motor Carrier Act

exemption as jurisdictional. 29 U.S.C. § 213(b)(1). Thus, “a Rule 12(b)(1) motion for lack of subject

matter jurisdiction is not the appropriate procedural device” for asserting the FLSA’s Motor Carrier Act

exemption. Casares v. Henry Limousine Ltd., No. 09 CIV. 458 (NRB), 2009 WL 3398209, at *1 (S.D.N.Y.

Oct. 21, 2009) (collecting cases).1

      Unfortunately, clear precedent didn’t stop 1845 Oil from filing a Rule 12(b)(1) motion to dismiss

for lack of subject matter jurisdiction on the grounds its “Sand Coordinators qualify for the exemption

under the Motor Carrier Act[.]”2 See Dkt. 15 at p. 3. However, a “claim invoking federal question

jurisdiction may also be dismissed for want of subject matter jurisdiction if it is not colorable, that is, if it

is ‘immaterial and made solely for the purpose of obtaining jurisdiction’ or is ‘wholly insubstantial and



1
        Since subject matter jurisdiction cannot be waiver, the fact FLSA exemption defenses are subject
to waiver confirms they are not “jurisdictional” in the relevant sense. See, e.g., Diaz v. Jaguar Rest. Grp.,
LLC, 627 F.3d 1212, 1214-15 (11th Cir. 2010); Sejour v. Steven Davis Farms, LLC, 28 F.Supp. 3d 1216,
1224 (N.D. Fla. July 1, 2014) (“a claim of [FLSA] exemption is an affirmative defense that must be
specifically pled or it will be deemed waived”).
2
       Nor did the fact that 1845 Oil’s job description refers to the sand coordinators as “FLSA
Status:NonExempt[.]” See Dkt. 15-1 at Exhibit 1-A (Sand Coordinator Job Description).
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frivolous.’” Jackson v. Crystal, No. EP-12-CV-85-PRM, 2012 WL 930800, at *2 (W.D. Tex. Mar. 19, 2012)

(quoting Arbaugh, 546 U.S. at 516). And an FLSA claim for an oil-field worker putting in 80+ hours a

week while being paid a day-rate with no overtime ain’t frivolous or insubstantial. See Dkt. 1. Therefore,

1845 Oil’s Rule 12(b)(1) motion is not the appropriate means for asserting its exemption defense.

3.    1845 Oil Failed to Establish the Motor Carrier Act Applies.

        1845 Oil says this case should be dismissed for lack of jurisdiction because its sand coordinators

are exempt “loaders” and/or “drivers’ helpers” covered by the Motor Carrier Act. See Dkt. 15 at p. 4. As

discussed more below, it would be improper to require McLeland to respond to 1845 Oil’s factual

allegations prior to discovery. However, even a cursory review of 1845 Oil’s evidence demonstrates it

failed to establish its Motor Carrier Act exemption defense.

     A. 1845 Oil Failed to Show Anything Was Transported “on the Public Highways” or in

        “Interstate Commerce.”

        For the Motor Carrier Act exemption to even potentially apply to a group of workers, the

employer must demonstrate the Secretary of Transportation has the power to establish rules governing

the workers’ “maximum hours and qualifications of service[.]” Songer v. Dillon Res., Inc., 618 F.3d 467,

472 (5th Cir. 2010). Among other things, this means the employer must show the employees “engage in

activities of a character directly affecting the safety of operation of motor vehicles in the transportation

on the public highways of passengers or property in interstate or foreign commerce within the

meaning of the Motor Carrier Act.” Id. (emphasis added).

        But despite bearing the burden of proof, 1845 Oil never offers any evidence that any motor

vehicle ever transported anything on a “public highway” or “interstate.” (much less a vehicle McLeland

performed safety affecting duties on). To be sure, 1845 Oil cites the “Affidavit of Jeremy Mauldin” to

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claim its “sand is sourced nationally and delivered to drill sites throughout Texas, New Mexico[,] and

other states.” See Dkt. 15, p. 4. But Mr. Mauldin makes no statements whatsoever regarding where the

sand is sourced (or, for that matter, whether it is delivered in Texas, New Mexico, or anywhere else). See

Dkt. 15-1, Mauldin Affidavit, passim. He certainly never testifies that anything was transported on a

“public highway” or that it traveled “in interstate commerce.” In the absence of proof that anything was

being transported “on the public highways” or “in interstate commerce,” 1845 Oil’s Motor Carrier Act

exemption never gets out of the gate. But 1845 Oil’s motion to dismiss fails for other reasons too.

    B. 1845 Oil’s Failed to Establish Its Sand Coordinators are “Loaders.”

        “A ‘loader,’ as defined for Motor Carrier Act jurisdiction … is an employee … (other than a

driver or driver’s helper …) whose duties include, among other things, the proper loading of his

employer’s motor vehicles so that they may be safely operated on the highways of the country.” See

29 C.F.R. § 782.5(a). To be exempt, a loader must exercise “judgment and discretion in planning and

building a balanced load or in placing, distributing, or securing the pieces of freight in such a manner

that the safe operation of the vehicles on the highways in interstate or foreign commerce will not be

jeopardized.” Id. (emphasis added). The Motor Carrier Act “overtime exemption does not apply to

employees not engaged in “safety affecting activities”, such as … those who unload vehicles, or those

who load but are not responsible for the proper loading of the vehicle.” See, e.g., Dept. of Labor Fact

Sheet #19: The Motor Carrier Exemption under the Fair Labor Standards Act (FLSA)3; 29 C.F.R. §

782.5(c) (Unloading “provide[s] no basis for exemption”).




3
        Available at: http://www.dol.gov/whd/regs/compliance/whdfs19.htm


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        To begin, 1845 Oil doesn’t provide any evidence that sand coordinators “load” anything. See

Dkt. 15-1, Mauldin Affidavit, passim. And 1845 Oil’s job description states only that a sand coordinator

“hooks and unhooks trucks to be loaded.” Id., 1845 Job Description. But even if it had provided some

evidence that these workers “load,” 1845 Oil admits its sand coordinators “are not required to exercise

independent discretion and judgment.” See Dkt. 16 (Answer) at ¶ 21. And, as noted above, 1845 Oil

failed to establish that any vehicle is “operated on the highways of the country” or that anything was

transported “in interstate commerce.” 29 C.F.R. § 782.5(a). So despite claiming its sand coordinators are

“loaders,” 1845 Oil fails to establish even the most basic elements of that affirmative defense.

    C. 1845 Oil’s Failed to Demonstrate Its Sand Coordinators are Driver’s Helpers.

        A “driver’s ‘helper’ … is an employee other than a driver, who is required to ride on a motor

vehicle when it is being operated in interstate or foreign commerce within the meaning of the Motor

Carrier Act.” 29 C.F.R. § 782.4(a). However, 1845 Oil’s evidence does not demonstrate – or even

suggest – that sand coordinators “ride” on any vehicles, let alone that they do so when the vehicles are

“being operated in interstate or foreign commerce within the meaning of the Motor Carrier Act.” Id.;

Dkt. 15-1, passim. While 1845 Oil’s job description states its “NonExempt” sand coordinators may

“[b]ack trucks on location,” this doesn’t aid 1845 Oil’s “driver’s helper” argument. See Dkt. 15-1, 1845

Job Description. “Nothing in the record indicates that … [1845 Oil] required [sand coordinators] to ride

on any vehicles that were operated in interstate or foreign commerce as defined by the MCA[.]”See, e.g.,

Billingslea v. S. Freight, Inc., 699 F. Supp. 2d 1369, 1377 (N.D. Ga. 2010). So, even based on 1845 Oil’s

pre-discovery version of events, its Motor Carrier Act defense fails.




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     D. Summary Judgment is Appropriately Entered Against 1845 Oil.

        Rule 56 is designed to facilitate prompt disposition of cases where there are no genuine issues of

material fact for the court to consider. Exxon Corp. v. St. Paul Fire & Marine Ins. Co., 129 F.3d 781, 786

(5th Cir.1997). To that end, “district courts . . . possess the power to enter summary judgments sua sponte,

so long as the losing party was on notice that she had to come forward with all of her evidence.” Celotex

Corp. v. Catrett, 477 U.S. 317, 326 (1986). A party which seeks summary judgment is on notice that she

must come forward with all of her evidence. General Universal Systems, Inc. v. Lee, 379 F.3d 131, 145 n. 29

(5th Cir. 2004); British Caledonian Airways Ltd v. First State Bank of Bedford, Tex., 819 F.2d 593, 595 (5th

Cir.1987)(filing a summary judgment “opens the door” to a grant summary judgment in favor of the

non-movant.). Thus, “Rule 56 [encourages] a court, under proper conditions, to grant relief to that party

which is entitled to such even if it has not been demanded.” American Home Assur. Co. v. United Space

Alliance, LLC, 378 F.3d 482, 486 (5th Cir. 2004).

        Here, 1845 Oil sought a judgment finding McLeland was covered by the Motor Carrier Act. See

Dkt. 15. It was, therefore, on notice it needed to establish all the elements of this defense. General

Universal Systems, Inc., 379 F.3d at 145 n. 29. But, as discussed above, it failed to do so. Therefore, this

Court could appropriately enter summary judgment against 1845 Oil.

4.    McLeland Should Be Permitted Discovery.

      Even if 1845 Oil’s exemption defense was somehow “jurisdictional” (and it isn’t), jurisdictional

issues that require factual determinations dictate that “an adequate opportunity to conduct discovery” be

allowed. In re Eckstein Marine Service L.L.C., 672 F.3d 310, 320 (5th Cir.2012). Assuming 1845 Oil’s

jurisdictional argument has any traction at all (and it doesn’t), McLeland should be permitted adequate

time for discovery to respond to 1845 Oil’s assertion of the Motor Carrier Act exemption. Walding v.

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United States, No. CIV.A. SA08CA124-XR, 2009 WL 902423, at *5 (W.D. Tex. Mar. 31, 2009)

(“Plaintiffs cannot be denied an opportunity for discovery that is appropriate to the nature of the

motion to dismiss.”). For example, McLeland should be permitted to discover what “vehicles” 1845 Oil

claims he rode on while the vehicle was “being operated in interstate or foreign commerce within the

meaning of the Motor Carrier Act.” 29 C.F.R. § 782.4(a). He should also be permitted to discovery why

1845 Oil’s own job description identifies sand coordinators’ “FLSA Status” as “NonExempt.” See Dkt.

15-1, 1845 Job Description.

        After all, summary judgment is appropriate only “after adequate time for discovery.” Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (1986). It is only “in the rarest of cases may summary judgment be

granted against a [party] who has not been afforded the opportunity to conduct discovery.” See Hellstrom

v. U.S. Dep’t of Veteran Affairs, 201 F.3d 94, 97 (2d Cir. 2000). Thus, “[s]ummary judgment should not

ordinarily be granted before discovery has been completed.” Travelers Prop. Cas. Co. of Am. v. Dillard's Inc.,

2008 WL 886099, at *2 (S.D. Miss. Mar. 28, 2008) (citing Alabama Farm Bureau Mutual Cas. Co., Inc. v.

American Fidelity Life Ins. Co., 606 F.2d 602, 609 (5th Cir.1979)).

5.    This Court Has Supplemental Jurisdiction Over McLeland’s State Law Claims.

     A. The FLSA Does Not Preempt State Laws that Are More Favorable to Employees.

        1845 Oil acts as if the FLSA preempts state wage and hours that are more stringent than the

FLSA. See Dkt. 15 at pp. 5-7. But, of course, the FLSA does just the opposite. See 29 U.S.C. § 218(a). So

the FLSA’s “savings clause” protects workers’ state law claims from preemption. See, e.g., Smith v. United

Parcel Serv., Inc., 890 F. Supp. 523, 528-29 (S.D.W. Va. 1995) (“state overtime protection laws apply … to

employees exempt from the overtime protections of the FLSA”). And courts have consistently held the

FLSA’s Motor Carrier Act exemption does not preempt state laws governing the payment of wages. See,

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e.g., Pettis Moving Co. v. Roberts, 784 F.2d 439, 440-41 (2d Cir. 1986) (a state overtime law does not conflict

with the MCA, “it merely requires that an employer pay time and one-half for all hours over forty that

its employees work”). So 1845 Oil’s “implied conflict preemption theory” is just a dead bang loser. Id.

     B. McLeland’s State Law Claims Do Not Predominate.

        Like the FLSA, the New Mexico Minimum Wage Act requires employers to pay overtime to

employees who work more than 40 hours a week. 29 U.S.C. § 207(a); N.M. Stat. Ann. § 50-4-22(D).

Thus, to prevail on his overtime time, McLeland will be required to prove he worked more than 40

hours a week and did not receive overtime pay. As such, both claims “arise from the same set of

operative facts,” making the assertion of supplemental jurisdiction is appropriate. Shahriar v. Smith &

Wollensky Rest. Grp., Inc., 659 F.3d 234, 246 (2d Cir. 2011). Where “the state law claims essentially

replicate the FLSA claims—they plainly do not predominate.” Ervin v. OS Rest. Servs., Inc., 632 F.3d 971,

980 (7th Cir. 2011); Lindsay v. Government Employees Ins. Co., 448 F.3d 416, 425 (D.C.Cir.2006). Therefore,

this Court should should exercise supplemental jurisdiction over McLeland’s NMMWA claims rather

than creating two wage and hour cases seeking unpaid overtime for the same time worked by the same

worker(s).

6.    Conclusion.

        For these reasons, 1845 Oil’s motions to dismiss should be denied.4




4
        Because 1845 Oil served its motion via ECF, this response is clearly timely. Cf. DTND Sierra
Investments, LLC v. Bank of New York Mellon Trust Co., No. SA-12-CV-1014-XR, 2013 WL 432923, at *1
(W.D. Tex. Feb. 4, 2013).
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                                     Respectfully submitted,

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                          CERTIFICATE OF SERVICE

I served this document via the Court’s ECF system.


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